              Case 8:19-cv-02435-DOC-JDE Document 7 Filed 12/20/19 Page 1 of 3 Page ID #:19




                                                                                    Citizen ofThis State                                                                       4

                                                                                    Citizen of Another State           2                                                               5

                                                                                    Citizen  Subject
                                                                                                                                     Foreign Nation
                                                                                    Foreign Country



                                                                                                                                                                    8. Multidistrict
                                                       Remanded from            Reinstated           5. Transferred from
                                                                                                                                                                       Litigation
                                                       Appellate Court          Reopened                   District (Specify)                                          Direct Fife




                                                                   No
                    ACTION     (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
47 U.S.C. 227, et seq.




                                   120 Marine                                                                              463 Alien Detainee
    376QuiTam
                                                                                                                           510 Motions to Vacate
    (31 USC 3729(a))                                                                                                       Sentence
    400 State                       140 Negotiable                                                D                        530 General
D   Reapportionment                 Instrument                                       ___________, D                        535 Death Penalty
    410 Antitrust                                                                                                                 Other:
    430 Banks and Banking                                                                                                  540 Mandamus/Other
    450 Commerce/ICC               Judgment                                                                                550 Civil Rights           D   862 Black lung (923)
    Rates/Etc.
                                                             320 Assault, Libel                                            555 Prison Condition           863 DIWC/DIWW (405 (g))
    460 Deportation                                          Slander
    470 Racketeer lnflu-                                     330 Fed. Employers'
    enced & Corrupt Org.                                     Liability
    480 Consumer Credit                                      340 Marine
    490 Cable/Sat TV                                         345 Marine Product
                                                             liability
                                                              350 Motor Vehicle       D
    890 Other Statutory                                       355 Motor Vehicle
    Actions                                                   Product Liability
    891 Agricultural Acts
                                   1900ther                  360 Other Personal       D
    893 Environmental
                                   Contract                  Injury                   D   441 Voting                       710 Fair Labor Standards
                                                                                                                           Act
                                   195 Contract              362 Personal Injury-
    Matters                                                                                                                720 labor/Mgmt.
                                   Product Liability         Med Malpratke
    895 Freedom of Info.                                                                                                   Relations
                                   196 Franchise             365 Personal Injury-
    Act                                                      Product liability                                             740 Railway labor Act
    896 Arbitration                                          367 Health Care/             445 American with
                                   210 land                  Pharmaceutical           D   Disabilities-                    751
                                                                                                                           leave
                                                                                                                                         Medical
    899 Admin. Procedures          Condemnation              Personal                     Employment
    Act/Review of Appeal of                                  Product                      446 American with                790 Other labor
                                   220 Foreclosure
    Agency Decision                                                                       Disabilities-Other               Litigation
                                                             368 Asbestos
    950 Constitutionality of   D   230 Rent lease &      D   Personal                     448 Education              D     791           Ret. Inc.
    State Statutes                 Ejectment                 Product


                                          Case Number:
Case 8:19-cv-02435-DOC-JDE Document 7 Filed 12/20/19 Page 2 of 3 Page ID #:20
Case 8:19-cv-02435-DOC-JDE Document 7 Filed 12/20/19 Page 3 of 3 Page ID #:21
